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                            Supplemental Declaration of Amy Fly

My name is Amy Fly and I am an attorney licensed to practice in the State of Pennsylvania.

On April 22 - 23, 2020, I spoke with the following detainees in the Dallas County Jail: Jose
Garcia (Bookin # 20012971); Jacorian Sauls (Bookin # 20013967); Clayton Turner (Bookin #
19025415); Ladarious Washington (20013479); Alex Birdwell (Bookin #19054433); Terrill Ray
(Bookin # 19055593). They told me the following information:

   1. On Saturday, April 18, 2020, Mr. Garcia, Mr. Sauls, Mr. Turner, Mr. Washington, Mr.
      Birdwell, and Mr. Ray were all detained on the sixth floor of North Tower, West Wing,
      in Tank 3. This tank has 4 cells with 7 men in each cell (28 men total in the tank).

   2. At around 3:30pm, Marcus Grant (Bookin # 19025173) from cell A was removed from
      the tank. He had been complaining of symptoms of the virus for about 3 days, but was
      previously ignored by jail staff.

   3. After Mr. Grant was removed from the tank, a nurse checked the vitals of the remaining
      men in the tank. Ramon Mendoza (Bookin #19014130) from cell A had a high fever and
      was removed from the tank. He had reported headaches, body aches and night sweats and
      feeling feverish for about a week before his temperature was ever taken.

   4. Around 5:00pm that same day, Montreal Johnson (Bookin # 19052132) from cell D
      started exhibiting symptoms, including sweating, coughing, and vomiting. Worried about
      Mr. Johnson further contaminating their living space, the other detainees started beating
      on the windows and made a commotion in an effort to get staff to remove Mr. Johnson
      from the tank. It took about 5 hours for a nurse see him. At first, the men in the tank were
      told that Mr. Johnson could not leave the tank because the entire tank was under
      quarantine. Anxiety levels rose, and Mr. Johnson was eventually taken away.

   5. None of the three men’s bunks were cleaned after they were removed from the tank.

   6. At around midnight, the staff made an announcement that it was time for the men to
      “rack up,” meaning go into their cells for the night. The whole tank made a fuss about the
      staff continuing to bring sick people into their tank, as Mr. Johnson had not been in their
      tank a full day before he started vomiting. An officer asked for a tank spokesman, and
      Mr. Garcia took that role. He told the officer that no one in cell A wanted to go back into
      the cell before it was cleaned since 2 men were taken away that day for having symptoms
      of the virus. He demanded cleaning supplies and new masks, because their current masks
      were over 2.5 weeks old. Eventually, the officer agreed to bring them cleaning supplies if
      they went back into their cell.

   7. When the officer left, the men went back into their cells as they said they would. Not five
      minutes later, three Hispanic officers, an African American officer and Sergeant J. Mac
      returned to the cell while Mr. Garcia was urinating. One of the staff members announced
      “fuck that rack up,” and Officer Rodriguez grabbed Mr. Garcia at the urinal, body

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       slammed him, put him in a chokehold, and punched him. After Mr. Garcia was already in
       handcuffs, Sergeant J. Mac ordered the African American guard to mace Mr. Garcia
       repeatedly. Mr. Garcia was beaten so badly that Mr. Birdwell described him as “barely
       recognizable” after the encounter. As they removed Mr. Garcia from the cell, one of the
       staff members said in a threatening manner to the detainees who witnessed the
       altercation, “Anyone have anything to say?”

   8. After Mr. Garcia was taken away, he was placed in a holding tank that had not been
      cleaned after being used by someone who was sick. He was there for about three days
      before being moved to segregation cell 42 on the 2nd floor of West Wing in North Tower.
      Then he began to feel sick and started asking for someone to take his temperature. He has
      since stopped asking because the nurses are so busy at the South Tower that they ignore
      him.

   9. On Wednesday, April 22, 2020, the nurse practitioner came into Tank 3, gave everyone a
      new mask, and announced that one of the men removed from their tank tested positive for
      COVID-19.

   10. None of the remaining men in Tank 3 have been tested for the virus. Several are
       exhibiting symptoms, including, Julius Edwards, Travis Armstead, Benjamin Chavez,
       Sebastyan Ballard (Bookin # 19024527), Clayton Turner (Bookin # 19025415),
       Rodriguez Roberto (Bookin # 20015574), Guillrmo Rubi (Bookin #18061774), Eustorgio
       Jaims (Bookin #20011337), Cedrick Pittman (Bookin #20015610). None of the
       remaining men in Tank 3 have received any treatment for their symptoms

On April 22, 2020 I took a photo of Mr. Garcia’s face during our video visit at 9:30pm. He had a
swollen nose, black eye, and other visible bruises on his face. He is currently being detained in
segregation cell 42 on the 2nd floor of West Wing in North Tower.

On April 22, 2020, I set up attorney video visits with seven men in the North Tower, West Wing,
in Tank 3. When Jacorian Sauls appeared for the first visit, I could not hear any audio. He
communicated with me by writing on a piece of paper and holding it up to the camera. He told
me that the kiosk had been broken for about a week and the only way anyone in their tank could
contact their attorneys was through recorded calls on the phones in their cells. Several detainees
complained about the broken kiosk the staff has not done anything to fix it. While Mr. Sauls was
writing this message, I took a photo of the video, which showed two men using the phones
behind Mr. Sauls.

During the remainder of my video calls, I saw several men in the tank walking in and out view in
the background. I took several more photos. Of the dozen or so men whose faces I saw, only
three had their masks visible. All three of those men wore their masks around their necks more
often than on their faces. None of the men who were visible in the camera were standing 6 feet
away from others in their tank.

After these video visits, I checked the location of Ramon Mendoza, Marcus Grant, and Montreal
Johnson on the Dallas County Online Jail Search. As of the date of this declaration, Mr.

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Mendoza and Mr. Grant are on the 9th floor of the West Tower and Mr. Johnson is on the 7th
floor of the West Tower.


April 23, 2020                                                           /s/ Amy Fly_______
York PA                                                                  Amy Fly




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